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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                         )
                                                  )
                  Plaintiff,                      )
                                                  )
                                                       No. 1:21-cr-670-CJN
v.                                                )
                                                  )
STEPHEN K. BANNON,                                )
                                                  )
                   Defendant.                     )
                                                  )

                 NOTICE REGARDING SUPPLEMENTAL AUTHORITY

       On August 29, 2024, Stephen K. Bannon filed a motion to reimpose bail or impose a period

of supervised release. ECF No. 201. That motion relied on several intervening circumstances

supporting reimposition of bail, including that enough time has passed since the government filed

its opposition to Mr. Bannon’s en banc petition that the odds of a grant or a dissent from denial

were nearly 100%, based on historical D.C. Circuit practice. The government opposed on

September 12, 2024, ECF No. 202, and Mr. Bannon filed his reply on September 13, 2024, ECF

No. 203.

       Since then, the D.C. Circuit has continued following its en banc pattern: if more than a

month passes after the response to an en banc petition is filed, the Court either grants en banc or

denies it with separate opinions. Most notably, on October 15, 2024, the Court granted en banc in

End Citizens United PAC v. FEC, No. 22-5277, where the time between the response to the en

banc petition and the grant of rehearing was well over a month. And on the flip side, in Tenaska

Clear Creek Wind LLC v. FERC, No. 22-1059, the Court summarily denied rehearing on

September 4, 2024, a mere 9 days after receiving the response to the en banc petition.



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       Over the last 20 months, the D.C. Circuit has uniformly followed that pattern: once the

Court receives the requested response to an en banc petition, the Court either swiftly and

summarily denies rehearing within a month, or otherwise waits longer and then grants rehearing

or issues a denial with a separate opinion. The government’s response to Mr. Bannon’s en banc

petition has now been pending for over 75 days.

       In its opposition before this Court, ECF No. 202, the government never disputed—and thus

conceded—that even a denial of en banc accompanied by a dissent would demonstrate the mens

rea issue is substantial. Because the odds of that outcome are now a near-certainty, the Court

should grant Mr. Bannon’s motion for bail pending completion of Supreme Court review, and

order the Bureau of Prisons to release Mr. Bannon immediately.

October 16, 2024
                                           By:      /s/ R. Trent McCotter

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, I electronically filed the foregoing document with the

Clerk of the Court using the CM/ECF system, which will serve all registered attorneys in this case.

                                              /s/ R. Trent McCotter
                                             R. Trent McCotter




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